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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                    4:13CR3130

       vs.
                                                            MEMORANDUM AND ORDER
JORGE LUIS ORTIZ-LOPEZ,

                        Defendants.


       The defendant has moved for review of detention. (Filing No. 64). It appears he is
proposing release to reside with a third party custodian. If that is the case, due to the court’s
limited resources, the defendant must select only one person or household for pretrial services to
investigate as a potential third custodian.


       In making this selection, the defendant and defense counsel should be mindful that the
court will consider, among other things, whether the proposed custodian:

                has a criminal record;

                is legally in this country;

                has a stable residence and stable employment;

                has the time, ability, maturity, and willingness to monitor the defendant’s conduct
                 and whereabouts and report it, if necessary, to the court;

                has been or is controlled, intimidated, or threatened by the defendant;

                has a home that can accommodate the defendant as an additional resident
                 (including a land line if electronic monitoring is necessary);

                has the financial wherewithal to support the defendant while this case is pending;

                knew or had reason to know of the defendant’s alleged criminal activity before
                 defendant’s arrest; or

                in any way assisted the defendant, or any other person, in evading arrest.
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       The court will also consider the above characteristics as to all others currently living in
the proposed third party custodian’s home, and will further assess whether the defendant has or
could pose a risk of harm to the proposed third party custodian or any other persons living in his
or her residence if released.


       IT IS ORDERED:

       1)      Once a proposed custodian is selected, defense counsel shall advise the assigned
               pretrial services officer, who will thereafter investigate the proposal and provide a
               report to the court.

       2)      The clerk shall provide a copy of this order to the pretrial services office.

       November 13, 2013.

                                                      BY THE COURT:
                                                      s/ Cheryl R. Zwart
                                                      United States Magistrate Judge




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